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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------- X
                                       :
OUR WICKED LADY LLC (d/b/a “Our Wicked :                  21cv0165(DLC)
Lady”), et al.,                        :
                                       :                       ORDER
                         Plaintiffs,   :
                -v-                    :
                                       :
ANDREW CUOMO, in his official capacity :
as Governor of the State of New York; :
STATE of NEW YORK; BILL de BLASIO, in :
his official capacity as Mayor of New :
York City; and THE CITY of NEW YORK,   :
                                       :
                         Defendants.   :
                                       :
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DENISE COTE, District Judge:

     On January 12, 2021, an initial pretrial conference was

scheduled for February 26.        It is hereby

     ORDERED that the February 26 initial pretrial conference is

adjourned sine die.



Dated:       New York, New York
             February 16, 2021
